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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 GUN OWNERS OF AMERICA, INC., et al.,

        Plaintiffs,
                                                      Case No. 1:18-cv-1429
 v.
                                                      HONORABLE PAUL L. MALONEY
 WILLIAM P. BARR, et al.,

        Defendants.
 ____________________________/


                          ORDER GRANTING MOTION TO STAY

       Pending before the Court is Plaintiff's motion for stay of proceedings pending appeal (ECF

No. 54). Plaintiff requests a stay of proceedings in this case pending resolution of their appeal to

the Sixth Circuit Court of Appeals of the denial of their motion for preliminary injunction. The

Defendants do not oppose the request (ECF No. 54, PageID.486). Upon due consideration of the

motion by the Court,

       IT IS HEREBY ORDERED that the motion for stay of proceedings pending appeal (ECF

No. 54) is GRANTED for the reasons stated in the motion.

       IT IS FURTHER ORDERED that this matter is STAYED pending resolution of the

pending appeal. The parties are to file a joint status report detailing the status of this matter no

later than two weeks after resolution of the appeal by the Sixth Circuit Court of Appeals.



Dated: May 6, 2019                                            /s/ Paul L. Maloney
                                                             Paul L. Maloney
                                                             United States District Judge
